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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 ANDREW YANG, JONATHAN HERZOG, HELLEN SUH,
 BRIAN VOGEL, SHLOMO SMALL, ALISON HWANG,
 KRISTEN MEDEIROS and DR. ROGER GREEN,
 individually and on behalf of all others similarly situated,

                                                 Plaintiffs,

                               v.                                 No. 20-cv-3325 (AT)
 DOUGLAS A. KELLNER, Co-Chair and Commissioner,
                                                                  NOTICE OF APPEAL
 ANDREW SPANO, Commissioner, PETER S. KOSINSKI,
 Co-Chair, TODD D. VALENTINE, Co-Executive Director,
 and ROBERT A. BREHM, Co-Executive Director,
 individually and in their official capacities at the New York
 State Board of Elections, and the NEW YORK STATE
 BOARD OF ELECTIONS,

                                               Defendants.

 GEORGE ALBRO, PENNY MINTZ, JAY BELLANCA,
 TRACI STRICKLAND, EMILY ADAMS, NESTOR
 MEDINA, SIMRAN NANDA, KATHRYN LEVY,
 JOSHUA SAUBERMAN, CARI GARDNER, STEPHEN
 CARPINETA, NANCY DEDELVA, and TING BARROW,

                                      Plaintiff-Intervenors,

                               v.

 DOUGLAS A. KELLNER and ANDREW SPANO, as
 Commissioners of the New York State Board of Elections,
 and the NEW YORK STATE BOARD OF ELECTIONS,

                                               Defendants.



       PLEASE TAKE NOTICE that Defendants, Douglas A. Kellner, Co-Chair and

Commissioner, Andrew Spano, Commissioner, Peter S. Kosinski, Co-Chair, Todd D. Valentine,

Co-Executive Director, and Robert A. Brehm, Co-Executive Director, individually and in their
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official capacities at the New York State Board of Elections, and the New York State Board of

Elections, hereby appeal to the United States Court of Appeals for the Second Circuit from the

Opinion and Order of the District Court, dated May 5, 2020, and electronically filed on May 5,

2020 (ECF No. 43).


Dated: New York, New York
       May 6, 2020

                                               Respectfully submitted,

                                               LETITIA JAMES
                                               Attorney General
                                               State of New York
                                               Attorney for Defendants

                                           By: /s/ Matthew L. Conrad
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